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                                     Laura Davis Jones              September 13, 2021            ljones@pszjlaw.com
                                                                                                        302.778.6401




W I L M I N G T O N, D E
L O S A N G E L E S, C A
S A N F R A N C I S C O, C A
                                     VIA CM/ECF AND HAND DELIVERY
N E W Y O R K, N Y
C O S T A M E S A, C A
                                     The Honorable Colm F. Connolly
919 NORTH MARKET STREET              U.S. District Court for the District of Delaware
17th FLOOR                           J. Caleb Boggs Federal Building
P.O. BOX 8705
WILMINGTON
                                     844 N. King Street
DELAWARE 19899-8705                  Unit 31, Room 4124
TELEPHONE: 302/652 4100
                                     Wilmington, Delaware 19801-3555
FACSIMILE: 302/652 4400
                                     Re: Youngman, et al. v. Yucaipa American Alliance Fund I,
LOS ANGELES                          L.P. et al. (Civil Action Nos. 21-cv-994 and 21-cv-995); In re:
10100 SANTA MONICA BLVD.             ASHINC Corporation, et al. (Civil Action No. 21-cv-1060)
13th FLOOR
LOS ANGELES
                                     Dear Chief Judge Connolly:
CALIFORNIA 90067

TELEPHONE: 310/277 6910
                                     Our firm together with Glaser Weil represents Yucaipa American
FACSIMILE: 310/201 0760
                                     Alliance Fund I, L.P. and Yucaipa American Alliance (Parallel)
                                     Fund I, L.P.S (collectively, “Yucaipa”) in the referenced matters
SAN FRANCISCO
150 CALIFORNIA STREET
                                     pending in the District Court and Bankruptcy Court. The matters
15th FLOOR                           include both the appeals of the two subject adversary proceedings
SAN FRANCISCO                        (Civil Action Nos. 21-cv-994 and 21-cv-995)), and the related
CALIFORNIA 94111-4500
                                     Bankruptcy Rule 9033 referral as to one of the adversary
TELEPHONE: 415/263 7000              proceedings (Civil Action No. 21-cv-1060) arising from the
FACSIMILE: 415/263 7010
                                     identical alleged breach of the same underlying agreements. We
                                     write to seek guidance with respect to filing pleadings with the
NEW YORK
                                     Court in the near term as to both interrelated matters.
780 THIRD AVENUE
34th FLOOR
NEW YORK                             By Recommendation dated August 2, 2021, Chief Magistrate Judge
NEW YORK 10017-2024                  Thynge recommended in part that “No briefing schedule be entered
TELEPHONE: 212/561 7700              until after further mediation with Judge Weinstein and Mr. Melnick
FACSIMILE: 212/561 7777              is completed.” (Recommendation at ¶4). By Order dated August 11,
                                     2021, Your Honor adopted that provision of the Recommendation.
COSTA MESA                           Pursuant to this Court’s standing orders, “[a]ll briefing in connection
650 TOWNE CENTER DRIVE
                                     with the appeal and all motion practice on appeal shall be deferred
SUITE 1500
COSTA MESA
                                     during the pendency of mediation unless the Court determines
CALIFORNIA 92626                     otherwise.” Sept. 11, 2012 Standing Order at ¶2(b)(i).
TELEPHONE: 714/384 4750

FACSIMILE: 714/384 4751



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          As we disclosed to the Trustee’s counsel when coordinating a trial
          date in Bankruptcy Court (presently scheduled to start February 7,
          2022), Yucaipa intends to file pleadings, including, among other
          possible items, motions to withdraw the reference over the two
          adversary proceedings.

          While the filings Yucaipa intends to make are directly related to the
          underlying adversary proceedings at issue in those appeals and the
          Bankruptcy Rule 9033 proceeding, they would not be briefings in
          connection with the appeal nor “motion practice on appeal.”
          Although we do not believe the Court intends to prohibit the filing
          of any papers in connection with these proceedings until the
          mediation is concluded unless directly related to the appeals
          themselves, Yucaipa does not want to violate the Court’s Orders.
          Yucaipa does not, however, want to lose an opportunity to file
          pleadings that Yucaipa believes must be considered by the Court
          prior to the pending trial scheduled in Bankruptcy Court on the
          claims for relief remaining pending in the adversary proceedings.

          Accordingly, we bring the issue before the Court now, early in the
          mediation process and while sufficient time remains for the filing of
          pleadings and the disposition of issues, for the Court’s guidance.

          We thank the Court in advance for your attention to this matter.


                                            Respectfully submitted,

                                            /s/ Laura Davis Jones

                                            Laura Davis Jones
                                            Pachulski Stang Ziehl & Jones LLP

                                            Counsel for Yucaipa


          cc: Bankruptcy Judge Christopher S. Sontchi (via Chambers email)
              Counsel to the Trustee (via email)




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